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                                                                             2015 Nov-02 PM 03:55
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

ADTRAV CORPORATION,                          )
                                             )
         Plaintiff,                          )
                                             ) CIVIL ACTION FILE
                                             ) NO: 2-14-CV-0056-TMP-S
                                             )       OPPOSED
V.                                           )
                                             )
DULUTH TRAVEL, INC.,                          )
                                             )
Defendant and Plaintiff in Counterclaim.     )

 DEFENDANT DULUTH TRAVEL, INC.’S MOTION TO COMPEL
   DISCOVERY AND MEMORANDUM OF LAW IN SUPPORT
                    THEREOF

      COMES NOW Defendant Duluth Travel, Inc. (“Defendant” or

“Duluth”) and pursuant to Rule 37(a) of the Federal Rules of Civil

Procedure (“FRCP”), files this, its Motion to Compel Discovery and

Memorandum of Law in Support thereof (“Motion to Compel”). Duluth

brings this Motion to Compel because of Plaintiff Adtrav Corporation’s

(“Plaintiff” or “Adtrav”) failure to respond to several of Duluth’s

interrogatories and requests for production of documents. For the reasons

set forth below, Duluth respectfully requests that this Court grant its Motion

to Compel.




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      I.    INTRODUCTION AND FACTUAL BACKGROUND

      Prior to filing this Motion to Compel, Duluth contacted Plaintiff to see

if the parties could work through their discovery disputes (and if not, if it

would oppose this motion). Pursuant to the Court’s October 19, 2015 Order,

the parties conferred on October 23, 2015 to discuss Plaintiff’s Motion for

Leave to Permit Additional Discovery. During the discussions, Duluth also

addressed with counsel for Plaintiff the discovery issues in this motion,

explained its reasoning for needing the information that Plaintiff has failed

to produce, and provided a verbal outline of same to Plaintiff. Thereafter, on

Wednesday October 28, 2015 Duluth provided a written recital of the issues

to Plaintiff. Worksheet for Opposing Counsel (Exhibit A). Despite these

efforts, Plaintiff has indicated it cannot yet produce the information and

opposes the motion. Based on this failure to reach any agreement, the

following is Duluth’s listing of the issues and extensive record of Duluth’s

attempts to resolve same without having to request the Court’s assistance.

      It is important for the Court to gain some insight into the nature of the

business relationship between the Parties such that the Court might

appreciate the critical nature of the material that Plaintiff has withheld in

discovery. From 2005-2014, Duluth served as the prime contractor for the

Department of Veterans Affairs (“VA”) for the provision of travel services.



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Plaintiff was a subcontractor to Duluth in that endeavor. As payment for

their services, the Parties received a small percentage of booking fees. In the

case of airline ticket transactions, these percentages are called “transaction

fees.” In the case of car and hotel rentals, the fees received are called

“commissions,” and in the case of certain incentives for volume of

transactions or other benchmarks, the fees are termed either “bonuses” or

“segment fees.” As discussed above, Plaintiff and Duluth had entered into a

contract in 2005 whereby Plaintiff would be a subcontractor to Duluth in

servicing the VA account. A second contract was entered between the

Parties in 2010 for this account (the “VA contracts”), described in greater

detail in the Complaint. Duluth paid Plaintiff a monthly fee to perform the

accounting for servicing the VA contracts. Plaintiff had complete control

over the collection of revenue earned under the VA contracts, the reporting

of that revenue to Duluth and the preparation of all of the weekly and

monthly reconciliations which purported to show all revenue earned and

collected, and the division of those revenues between the Parties. In short,

Plaintiff had total and unilateral control over the receipt and reporting of

revenues from inception until approximately mid-2013 when Duluth began

performing the accounting functions after much dispute between the Parties.

Plaintiff never provided independently verifiable third-party data or backup,



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if you will, to support the numbers reported by Plaintiff to Duluth in the

weekly and monthly reconciliations described above. In other words,

throughout the seven years wherein Plaintiff controlled the collection and

reporting of revenue and throughout discovery in this lawsuit (which it is

important to note Plaintiff initiated) Plaintiff’s position has been to say that

there was no need to provide any of the independent third-party data from

which its reports were compiled (or alternatively, Plaintiff indicated that it

had either lost the information or destroyed it).

      This refusal to provide access to third-party backup for the revenue

that Plaintiff reported would be confounding under any circumstances.

However, what Duluth has uncovered since taking over the accounting

functions makes Plaintiff’s refusal to provide the backup even more suspect.

After DTI assumed the accounting functions from Plaintiff under the VA

contracts, a number of disturbing patterns began to emerge. Chief among

those patterns was a dramatic increase in the volume of commissions being

earned on the VA contract compared to those Plaintiff had reported while

performing the accounting and the revenue reporting. By way of example,

Duluth performed all of the accounting for the VA contract in 2014. In that

year, overall transactions were similar yet the commissions earned on those

transactions were almost double the volume reported as having been earned



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and collected by Plaintiff. The same can be said for each of the previous

years when Plaintiff controlled the accounting. Based on these facts, it is

Duluth’s position that revenue was collected by Plaintiff and not reported or

shared with Duluth. Because Plaintiff refuses to provide the backup, only

the third-party data that Duluth has sought via third-party subpoenas can

reveal that this suspicion is accurate. In fact, Duluth has already reviewed

subpoenaed records of numerous third parties in an effort to explain the

discrepancies observed since Duluth took over the accounting. Thus far,

Duluth has specifically identified approximately $221,000.00 in what Duluth

believes represents unreported commissions and transaction fees earned on

the VA contract. That is, commissions and transaction fees not reported to

Duluth by Plaintiff.

      Having explained Duluth’s critical interest in and need for the

material not produced by Plaintiff, a recital of Duluth’s fruitless efforts to

obtain that material now follows.

      As an initial matter, Plaintiff has been completely evasive or wholly

inadequate in answering questions about its electronically stored information

(ESI). Duluth cannot even discern the extent of Plaintiff’s other discovery

failures due to the fact it has no idea what types of storage Plaintiff uses for

its ESI and business records much less whether these sources were searched



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or how they were searched.       FRCP 26(a)(1)(A) specifically requires a

description by category and location of all documents and electronically

stored information as an initial disclosure. In addition to this requirement,

Duluth also requested this same information in formal discovery from

Plaintiff. Notwithstanding the foregoing and as of the filing of this motion,

Plaintiff has yet to provide even the most rudimentary description of its ESI

infrastructure. This failure by the Plaintiff is particularly concerning given

the huge amount of critical financial and accounting data the Plaintiff claims

has been lost or destroyed as discussed in detail below.

      Beyond the issue of ESI, Plaintiff has further failed to respond to

numerous interrogatories and requests for documents. Duluth first served

interrogatories and requests for production of documents on Plaintiff on May

30, 2014.   Plaintiff responded on July 11, 2014, albeit with a host of

objections and incomplete or evasive responses to Duluth’s requests. See

Duluth’s First Interrogatories to Plaintiff (Exhibit B), Duluth’s First

Request for Production of Documents to Plaintiff (Exhibit C), Plaintiff’s

Response to Duluth’s Interrogatories (Exhibit D), and Plaintiff’s Response

to Duluth’s Request for Production of Documents (Exhibit E). In a good-

faith effort to obtain substantive responses from the Plaintiff voluntarily,

Duluth outlined its concerns regarding the inadequacy of Plaintiff’s



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responses in a letter dated July 19, 2014. See Parties’ Discovery Dispute

Correspondence (Exhibit F at p. 1). On August 13, 2014, Plaintiff provided

amended responses to Duluth’s first interrogatories that addressed a few

discovery issues. See Parties’ Discovery Dispute Correspondence (Exhibit )

at p.5). However, most of Plaintiff’s responses either referred Duluth back

to the original responses or ignored Duluth’s request for substantive replies

entirely.

       On September 26, 2014, Duluth again attempted to obtain substantive

responses to its discovery requests from the Plaintiff voluntarily via letter.

See Parties’ Discovery Dispute Correspondence (Exhibit F p. 28).          On

October 8, 2014, Duluth followed up with yet another letter in its continuing

efforts to obtain essential discovery from the Plaintiff concerning the data

from which it purportedly compiled the accounting reports of the revenue

earned pursuant to the VA contracts.         See Parties’ Discovery Dispute

Correspondence (Exhibit F p. 31). Finally, on October 24, 2014, Plaintiff

supplemented its document production, but again almost none of the

requested backup documents was produced. See Parties’ Discovery Dispute

Correspondence (Exhibit F p. 34).         Plaintiff has objected to producing

certain documents on the basis of confidentiality, but it has not specified




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these documents in any detail nor explained the confidential nature of the

documents.

      On December 1, 2014, the parties submitted a Joint Motion for

Consent Protective Order which order was entered the same day. See Court

Documents 29 & 30.           The parties entered into the protective order

specifically to address any issue related to confidentiality.

      On May 19, 2015, Duluth again attempted to procure substantive

compliance with discovery from the Plaintiff by letter. That letter sought not

only full responses to inadequate or incomplete responses to discovery but

also specifically requested explanations for Plaintiff’s myriad of objections,

as well as information about Plaintiff’s ESI. See Duluth’s Deficiency Letter

(Exhibit G). Plaintiff responded on June 12, 2015 via letter. See Plaintiff’s

Deficiency Response (Exhibit H).            Plaintiff again supplemented its

production with documents showing calculations and some documentation

with regard to transaction fees, but again, the response was vastly deficient

and provided no information about the ESI.

      In a continuing effort to obtain information about Plaintiff’s ESI,

Duluth sent a second round of interrogatories on June 27, 2015 to which

Plaintiff responded on July 27, 2015, again with deficiencies. See Plaintiff’s

Response     to   Duluth’s     2nd   Interrogatories    (“Responses   to   2nd



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Interrogatories”) (Exhibit I). Plaintiff claimed that “virtually all of Adtrav’s

VA information is stored in either TRAMS, its reporting database, or

desktops.” See Responses to 2nd Interrogatories (Exhibit I p. 3). Finally, at

Plaintiff’s 30(b)(6) deposition, counsel for Duluth again discussed on the

record the issue of documents that Plaintiff had failed to produce. See

Excerpts of the Deposition of Roger Hale (“Hale Deposition”) (Exhibit J p.

2:6). Despite these efforts to work through the discovery dispute, Plaintiff

still has not produced its electronic accounting documents, its government

travel services contracts that were to be part of the shared-business provision

in the VA contracts, its bank statements, its individually billed account

(IBA) reports, or its centrally billed account (CBA) reports.



      II.    ARGUMENT AND CITATION TO AUTHORITY

      Pursuant to FRCP 37(a)(3)(B), a party seeking discovery may move

for an order compelling an answer, designation, production or inspection if a

party fails to answer an interrogatory submitted under FRCP 33 or if a party

fails to permit inspection as requested under FRCP 34. Further, an evasive

or incomplete disclosure, answer, or response must be treated as a failure to

disclose, answer, or respond for purposes of motions for an order compelling

discovery. FRCP 37(a)(4). Thus, Duluth respectfully requests that this



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Court enter an Order compelling Plaintiff to properly and fully respond to

Duluth’s discovery as outlined herein.

   A. Request for Forensic Image of Plaintiff’s Media

   With regard to Plaintiff’s document search, collection, and production

process, it came nowhere close to meeting its discovery obligations. For

example, Plaintiff (1) never implemented a litigation hold nor did it adhere

to any document retention policy; (2) it self-collected documents; (3) it had

its key witnesses handpick emails to produce from some of their email

folders; and (4) it did not use a keyword search to collect emails.

      When a party reasonably anticipates litigation, it “must suspend its

routine document retention/destruction policy and put in place a ‘litigation

hold’ to ensure the preservation of relevant documents.”          Point Blank

Solutions, Inc. v. Toyobo Am., Inc., 2011 WL 1456029, *11 (S.D. Fla. 2011).

Plaintiff violated this rule by never implementing any sort of litigation hold

or other procedure to preserve evidence. See Hale Deposition (Exhibit K at

104:5) & Plaintiff’s Response to Duluth’s 2nd Request for Production of

Documents (“Responses to 2nd RPDs”) (Exhibit L p. 2). Plaintiff

acknowledges that its former vice president of finance, James Kern, testified

that Plaintiff had a document retention policy requiring financial records be

maintained for a period of 5 years. Hale Deposition (Exhibit K). Further



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the Federal Acquisition Regulations (FAR) require a 4-year document

retention policy for accounting documents on federal contracts. See FAR

4.705-1. As further discussed below, Plaintiff’s failure to preserve key

documents raises extensive spoliation concerns given the requirements

pursuant to which Plaintiff should have adhered. Especially when compared

and contrasted to the massive amount of critical financial data the Plaintiff

claims it cannot find, has been lost or destroyed. Without access to this

information, Plaintiff has prejudiced Duluth’s ability to defend itself against

Plaintiff’s claims and pursue its own counterclaims against Plaintiff.

Accordingly, a forensic image of Plaintiff’s ESI is required to determine

which documents Plaintiff may have lost or deleted that are relevant to this

case.

        With regard to collecting and producing relevant ESI, Plaintiff had

“the responsibility to take affirmative steps to ensure that all sources of

discoverable information were identified, searched, and reviewed so that

complete and timely responses to discovery requests could be provided.”

U&I Corp v. Advanced Med. Design, Inc., 251 F.R.D. 667, 676 (M.D. Fla.

2008). That responsibility includes creating key word searches “with input

from the ESI’s custodians as to the words and abbreviations they use.”

William A. Gross Constr. Assocs. Inc. v. Am. Mfrs. Mut. Ins. Co., 256 F.R.D.



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134, 136 (S.D.N.Y. 2009); In re Seroquel Prods. Liab. Litig., 244 F.R.D.

650, 662 (M.D. Fla 2007) (“[S]ampling and other quality assurance

techniques must be employed” when using search terms). Further, the law

strictly prohibits counsel from leaving its client’s employees in charge of

document search and collection.        E.g., Pension Comm. Of the Univ. of

Montreal Pension Plan v. Band of Am. Secs., LLC, 685 F. Supp. 2d 456, 473

(S.D.N.Y. 2010), abrogated on other grounds by Chin v. Port Auth. of N.Y.

& N.J., 685 F.3d 135 (2d Cir. 2012).

      Plaintiff’s collection of ESI was staggeringly deficient, as it

conducted, at best, a cursory effort to search for documents, leaving its

employees in charge of the search and selection of documents to produce.

See Response to 2nd Interrogatories (Exhibit I p. 2). For example, Lynn

Slaughter, an employee of Adtrav, testified that she was never given

instructions on how to search for documents nor given search terms nor even

shown the discovery requests or the Complaint. She merely decided for

herself whether something was relevant. See Excerpts from the Deposition

of Lynn Slaughter (“Slaughter Deposition”) (Exhibit M p. 2:11). Similarly,

Lisa McGowen, an Adtrav employee and one of its 30(b)(6) designees, also

conducted only a broad email search without keywords and without having

seen the Complaint. See Excerpts from the Deposition of Lisa McGowen



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(Exhibit N). Allowing key witnesses to be in charge of collecting their own

documents is improper given that they can delete unfavorable evidence or

delete the hard-drives of former employees. Jones v. Bremen High Sch.

Distr. 228, 2010 WL 2106640, *7 (N.D. Ill 2010).

        Even more perplexing is the fact that Plaintiff has a Chief Technology

Officer,1 Robert Reynolds, who was never consulted for purposes of

responding to the discovery requests.                       See Parties Discovery Dispute

Correspondence (Exhibit F p. 9) and Response to 1st Interrogatories (Exhibit

D p. 2). Further, Lynn Slaughter indicated that Mr. Reynolds handled the IT

functions for Plaintiff. Slaughter Deposition (Exhibit M). To date the only

individuals that Plaintiff consulted for responding to discovery are Roger

Hale and Lisa McGowen. Response to 1st Interrogatories (Exhibit D p. 2).2

Roger Hale, whom Plaintiff identified as its records custodian, apparently

never performed a search for documents but rather “asked Adtrav personnel

to search their files for VA information.” See Response to 2nd

Interrogatories (Exhibit I pp. 3-4). Further, despite Plaintiff only listing its

ESI sources as “TRAMS, its reporting database, or desktop computers,” it is

unclear whether any of these sources were properly searched. See id. It


1
  www.Adtrav.com/leadership
2
  Duluth subsequently learned from Lynn Slaughter’s deposition that she also provided information for
responding to discovery. This omission further represents Plaintiff’s de minimis effort to provide complete
discovery responses.


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seems unlikely that a company the size of Plaintiff would not have email

servers and backup servers for their ESI. Given that Duluth has no idea of

even the basic infrastructure of Plaintiff’s ESI, it cannot begin to make a

determination of the amount of ESI Plaintiff has withheld, failed to analyze,

and/or destroyed. A forensic image is the only method that will allow

Duluth to obtain the information that it has requested and to which it is

entitled under the discovery rules.

   B. Evasive or Incomplete Responses to Discovery Requests

      Throughout the correspondence attached hereto as Exhibits E, F, and

G, described above, Duluth has requested certain information and documents

that Plaintiff has yet to provide a response or produce.         All of the

interrogatories and documents discussed below are contained in Duluth’s

First Interrogatories and Request for Production of Documents and Second

Interrogatories and Request for Production of Documents. Those requests

go to the most essential elements of this case, namely the Plaintiff’s

collection and reporting of revenues earned by the Parties pursuant to the

VA contracts. Thus, Duluth respectfully requests that this Court order the

Plaintiff to substantively respond to the following:

Interrogatories:

      Interrogatory #2:



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      Please identify by date, amount, and payor each and every transfer of
      value by payment or otherwise of any kind made to, received by, or
      retained by or for the benefit of Plaintiff between January 1, 2008 and
      2013 inclusive arising from the VA contracts.

      RESPONSE: ADTRAV objects to this interrogatory as overbroad, vague,
      and overly burdensome. Subject to and without waiving these objections,
      ADTRAV states that Duluth has been in possession of records and reports
      that would adequately answer this question. In addition, the answer to this
      interrogatory may be determined by examining the weekly net remit
      reports that were transmitted between the parties during the course of the
      relationship, and the burden of deriving the answer will be substantially
      the same for either party. Subject to and without waiving these objections,
      ADTRAV has reproduced the weekly net remit reports and monthly
      reconciliations and statements for which the answer to this can be derived.

      Plaintiff’s response in conjunction with its responses to Duluth’s

requests for production #2, #8, #9, and #10 comprises a pervasive and

critical failure to respond. Plaintiff has produced voluminous records that

Plaintiff self-generated and supplied to Duluth during the course of the VA

contracts to support Plaintiff’s reporting and distribution of revenue.

However, this information lacks documentation supplied by the actual

vendors and from Plaintiff’s internal accounting records for the self-

generated reports that Plaintiff supplied to Duluth. Plaintiff provided some

backup for the transaction fees from 2010-2013 that it paid pursuant to the

VA contracts, although 19 weeks of backup were missing from these

documents. It did not, however, provide any backup for transaction fees

from 2008-2009. Plaintiff claims that this information is no longer available

and does not know what happened to it. See Hale Deposition (Exhibit O).



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Plaintiff did not provide backup for the commission payments. Plaintiff also

did not provide any backup for segment fees. Duluth also requested copies

of individual checks that vendors paid directly to Plaintiff. Plaintiff objected

to producing individual checks because any such production would be “too

burdensome.” In response, Duluth asked to inspect Plaintiff’s records, but

Plaintiff has provided no reply whatsoever. See Duluth Deficiency Letter

(Exhibit G p. 3) and Plaintiff’s Deficiency Response (Exhibit H). Plaintiff’s

failure to identify or produce virtually all of this critical information coupled

with its acknowledged failure to either follow a record-retention policy or to

conduct even the most rudimentary electronic records search, evidences the

scale of the Plaintiff’s failure to adequately respond to Duluth’s discovery

requests. Accordingly, Duluth requests that Plaintiff be compelled to provide

full and complete responses to this request and/or a forensic image of their

ESI.

       Interrogatory #3:

       This interrogatory requested information concerning any bank

accounts that Plaintiff used for depositing any funds related to the VA

contracts. Duluth has identified at least one check that clearly shows a

deposit that Plaintiff made into a Regions bank account that Plaintiff has

failed to identify. Regions Bank Deposit (Exhibit P) [Bank account number



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redacted for purposes of filing]. When asked about this check, Plaintiff

responded that it “is not familiar with a Regions bank account of that

number.” See Plaintiff’s Deficiency Response (Exhibit H p. 2). Duluth

requests that Plaintiff be compelled to provide full, complete responses to

this request and an explanation as to why it deposited a check into the

unidentified Regions bank account.

      Interrogatory #5:

      This interrogatory in conjunction with request for production #2

sought copies of every contract that Plaintiff has been awarded for the

provision of travel-related services to any branch or agency of the Federal

Government from December 2005 through December 2013. While Plaintiff

has identified contracts pursuant to this request, it has refused to produce

copies of the contracts.     These documents are specifically relevant to

Duluth’s claims related to Plaintiff’s breach of the 2005 VA contract’s

shared-business provision as detailed in Duluth’s Answer and Counterclaim.

See Court Document 4 pp. 10-11. Further, Duluth specifically requested for

deposition, an Adtrav representative who could discuss the revenue

generated from these contracts and advised Plaintiff of Duluth’s need for

these documents and their relevancy to this case at the Plaintiff’s 30(b)(6)

deposition. See Hale Deposition (Exhibit J). Plaintiff maintains its refusal to



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produce any of these documents or information with regard to the revenue

earned under these contracts.3 Accordingly, Duluth requests that Plaintiff be

compelled to provide a full, complete response to this request and produce

the documents requested and information about the revenue generated

therefrom.

Requests for Production:

        Request #2:

        This request sought all documents requested to be identified in the

interrogatories that were contemporaneously served with the requests for

production. Duluth refers to its paragraph regarding interrogatory #2 listed

above.

        Request #3:

        3. Please produce all account statements and supporting documentation
        (including all deposit slips, cancelled checks, reconciliation statements,
        wire transfer support, debit/credit memo support) for all bank, brokerage
        or other financial accounts used to deposit or transfer funds relating to VA
        travel for the joint account maintained by Plaintiff from the date of
        opening through today.

        RESPONSE: ADTRAV objects to this request as confusing, vague,
        ambiguous, overly broad, and unduly burdensome. ADTRAV objects to
        producing information for which Duluth had equal access. In addition, the
        information sought was regularly communicated through the reporting
        mechanism agreed to between the parties, and Duluth has online access to
        this same information. Subject to and without waiving these objections,
        ADTRAV has produced some account documents for the joint bank
        accounts at Red Mountain Bank and Aliant Bank. Both Duluth and
        ADTRAV deposited VA commissions and other revenue into their own

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  It should be noted that an Order is already in place to protect the confidentiality of these relevant
documents.


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      respective operating accounts as well as the joint accounts. The parties
      then reconciled during the monthly revenue split process. Duluth actually
      received more money directly into their Duluth account than ADTRAV
      received into ADTRAV's operating account and the joint account
      combined.


Plaintiff has produced only six (6) months’ worth of bank statements from

October 31, 2007-March 31, 2008. These statements are from the parties’

Red Mountain joint bank account. Plaintiff claims it has no other documents

related to the Red Mountain joint bank account or the Alliant joint bank

account. In spite of Plaintiff admitting to depositing funds from the VA

contracts into its Alliant operating account, it has refused to produce any

documents responsive to this request “unless and until Duluth can

satisfactorily explain why the VA reconciliation process information is not

adequate for purposes of this litigation.” See Plaintiff’s Deficiency Response

(Exhibit H p. 3). Clearly, Plaintiff’s objection is not a valid ground for

withholding these documents. It is also indicative of Plaintiff’s pervasive

position that it does not need to provide corroborating support for any of its

self-generated financial reporting to Duluth. Based on the foregoing, Duluth

requests that Plaintiff be compelled to provide a full, complete response to

this request and produce the documents requested. Duluth also requests a

forensic image of Plaintiff’s ESI for the documents it claims are no longer

available.


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      Request #4:

      This request sought Plaintiff’s entire file with regard to its dealings

with Duluth concerning the contracts which form the basis of this litigation.

Plaintiff has claimed that “it has produced known documents relevant to this

dispute,” but it has not indicated which documents are responsive. Plaintiff

has also objected that the request is burdensome and that materials

responsive to this request are proprietary and confidential.

      Request #8:

      This request specifically sought backup for commissions or overrides

generated from car and hotel rentals that Plaintiff reported.           Plaintiff’s

response/objection,   in   conjunction     with   its   response   to    Duluth’s

interrogatory #2, further evidences a pervasive and critical failure to

respond.

      Request #9:

      This request specifically sought backup for transaction fees generated

from airline ticket transactions that Plaintiff reported.               Plaintiff’s

response/objection,   in   conjunction     with   its   response   to    Duluth’s

interrogatory #2, further evidences a pervasive and critical failure to

respond.

      Request # 10:



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      This request specifically sought backup for GDS segment fees and

bonuses generated from incentive payments from vendors as that Plaintiff

reported. Plaintiff’s response/objection, in conjunction with its response to

Duluth’s interrogatory #2, further evidences a pervasive and critical failure

to respond.

      Requests #12-16:

      These requests were all of a similar nature seeking documents

evidencing communications between Plaintiff and various commission-

collect entities, including TACS, Pegasus, Paymode, CTS, and a catch-all

for other entities related in any way to the VA contracts. Plaintiff stated that

it has “no known written documents that evidence ‘communications’”

between Plaintiff and those entities. See Plaintiff’s Deficiency Response

(Exhibit H p. 5). Since these companies are responsible for commission

payments from the vendor to Plaintiff, communications between Plaintiff

and them related to the VA contract are clearly relevant. Despite Plaintiff’s

response, Plaintiff would have had hundreds of thousands of commission

payments from these entities over the course of the VA contracts, yet it has

indicated that not once did it ever communicate with them. Based on this

seemingly evasive response, Duluth requests a forensic image of Plaintiff’s

ESI to determine whether these communications were deleted.



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      Request #17:

      17. Please provide a download of all electronic accounting system files
      (including but not limited to general ledger accounts) related to the VA
      contracts from January 1, 2008 through today.

      RESPONSE: Adtrav objects to the extent this request seeks information
      beyond the scope of this case. Adtrav objects to the extent that it seeks
      proprietary and confidential information. Adtrav objects to the unduly
      burdensome and unreasonable nature of this request. The Adtrav
      accounting system does not have the capability to separate the VA
      accounting information from other customers, other than in the reports and
      documentation that was shared between the parties and has been produced
      by Adtrav and by Duluth. Adtrav believes all relevant information is
      contained with the previously produced documents or within the bank
      statements to which Duluth has online access.

In Duluth’s discovery deficiency letter of May 19, 2015, it specifically

requested information about Plaintiff’s burdensomeness objection and asked

Plaintiff to produce the proprietary and confidential documents since the

parties have a protective order in place. See (Exhibit G). In Plaintiff’s

response letter of June 12, 2015, Plaintiff simply stood by its response. See

(Exhibit H p. 5). Duluth requests that Plaintiff be compelled to provide a

full, complete response to this request and produce the documents requested.

Plaintiff should not be permitted simply to rely on reports that it specifically

created for Duluth to see and is required by the discovery rules to provide

such information. Plaintiff’s internal accounting information, including, but

not limited to, general ledgers, profit and loss statements, and balance sheets,

is clearly relevant and would permit Duluth to verify or dispute Plaintiff’s

self-generated reports of revenue for the VA contracts.

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      Request # 18:

      18. Please identify and produce all internally generated or prepared reports
      used to track and manage project or customer based activity and/or
      profitability related to the VA contracts from January 1, 2008 through
      today.

      Response: Adtrav objects to the extent this request seeks unidentifiable
      information is vague, ambiguous, overly broad, and unduly burdensome.
      Adtrav cannot speculate or guess what Duluth is seeking. Adtrav objects
      to the extent that it seeks proprietary and confidential information.
      Subject to and without waiving these objections, to the extent Adtrav
      understands what Duluth is seeking, Adtrav states the information is
      contained in the weekly and monthly revenue reports that were exchanged
      between the parties and have been produced in this litigation.

In Duluth’s discovery deficiency letter of May 19, 2015, it again specifically

requested information about Plaintiff’s burdensomeness objection and asked

Plaintiff to produce the proprietary and confidential documents (if any) since

the parties have a protective order in place. See (Exhibit G). In Plaintiff’s

response letter of June 12, 2015, Plaintiff simply stood by its response. See

(Exhibit H p. 5). The requested reports used to track and manage contracts

are clearly relevant to the issues in this case. Accordingly, Duluth requests

that Plaintiff be compelled to provide a full, complete response to this

request and produce the documents requested.

      Request #19:

      Duluth sought reports from centrally billed accounts (CBA) and

individually billed accounts (IBA) from January 1, 2008 to present.

Typically, if a government transaction is billed on a credit card it will run


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through a CBA, and this system tracks government purchases. Other types

of transactions run through an IBA, but these transactions are much less

frequent. Collectively these reports are another way to verify Plaintiff’s

transaction and revenue reports.                      Plaintiff claims it no longer has these

reports. Given the lack of information about Plaintiff’s ESI, the lack of a

litigation hold, the lack of a document-retention policy, and the lack of

information about a document search related to this request, Duluth requests

that Plaintiff be compelled to produce a forensic image of its ESI so that

Duluth may determine when these records where deleted or otherwise made

unavailable and whether there is a spoliation issue.

Objections & Instructions:

           Foundation for objections: Both in the original discovery and in

discovery deficiency letters, Duluth has repeatedly asked Plaintiff to explain

its foundation for burdensomeness which Plaintiff has refused to do. See

Duluth’s 1st Interrogatories (Exhibit B p. 5),4 Duluth’s Deficiency Letter

(Exhibit G p. 2), and Plaintiff’s Deficiency Response (Exhibit H p. 1).

However, FRCP 33(b)(4) requires that objections be stated with specificity.

See also Rosen v. Provident Life and Accident Ins. Co., 2015 WL 4139024,

6 (N.D. Ala.) (“An objection must show specifically how a [discovery


4
    Note this instruction was incorporated in all other discovery requests that Duluth sent.


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request] is overly broad, burdensome or oppressive, by submitting evidence

or offering evidence which reveals the nature of the burden”).         Duluth

requests a response indicating the nature of the burden for interrogatories #2,

#4, #15, #18 and #21 and for requests for production #3, #4, #9, #10, #12,

#14, #15, #16, #17, and #18.

      Privilege/Confidentiality Log: Duluth has asked for a log of

documents withheld. See Duluth’s 1st Interrogatories (Exhibit B pp. 5-6)

and Duluth’s Deficiency Letter (Exhibit G p. 2). Plaintiff has indicated it has

not withheld any documents on the basis of privilege, but Plaintiff has

withheld documents for confidentiality/proprietary reasons. To the extent

any documents are withheld, Duluth requests a log of those documents with

sufficient information to demonstrate the propriety of the withholding.

      In its instructions, Duluth requested that Plaintiff indicate which

documents were responsive to specific requests for production. Plaintiff has

not specified any of its documents as being responsive to any given request,

with the exception of citing its entire production for responses to a few

requests. Also despite the information provided for Request #2, Plaintiff did

not specify which interrogatory responses were supported by the documents

it produced pursuant to that request. Duluth should not be required to have

to delve through thousands of pages to determine which are responsive to



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Duluth’s individual requests. Duluth requests that Plaintiff be compelled to

provide this information and indicate the bates numbers of documents that

are responsive to specific, individual requests.

        Wherefore, and based on the foregoing, Duluth respectfully requests

that the Court enter an Order compelling Plaintiff to provide adequate

discovery responses, with deadlines the Court deems appropriate, and to

consider the impact that this late production of critical information may have

on the case schedule, including the October 13, 2015 deadline for Duluth’s

expert report.5

         This the 2nd day of November, 2015.



                                                     Respectfully submitted,


                                                     /s/ D. Michael Sweetnam
                                                     D. MICHAEL SWEETNAM

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  Further, because of Plaintiff’s refusal to comply with the discovery rules and its actions, which have
forced Duluth to file this motion, Duluth respectfully asks the Court to award a reasonable attorneys’ fee
pursuant to FRCP 37(a)(5).


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                                      /s/ Lynne Stephens O’Neal
                                      LYNNE STEPHENS O’NEAL

                                      /s/ Jim H. Wilson
                                      JIM H. WILSON

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                                      Duluth Travel, Inc.

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                     CERTIFICATE OF SERVICE

             I hereby certify that I have filed a copy of the foregoing using
the Court’s CM/ECF electronic filing system and have served a copy upon
all counsel of record via EMAIL on this the 2nd day of November, 2015.

      Roger L. Bates, Esq.
      Tracy R. Davis, Esq.
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                                              /s/ Jim H. Wilson




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